      2:18-cv-00216-RMG          Date Filed 06/17/22       Entry Number 88         Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


Shyan Barnett, Penny Sambrano,        )
and Tiffany Slawson,                  )
                                      )                Civil Action Nos. 2:18-204-RMG
              Plaintiffs,             )                2:18-216-RMG, 2:18-217-RMG
                                      )
       vs.                            )
                                      )
Palmetto Heights Management, LLC, and )
Archdale Development, LLC,            )                ORDER
                                      )
              Defendants.             )
                                      )
____________________________________)

       The Court’s examination of the official records of the South Carolina Secretary of State,

conducted today, revealed that Defendants Palmetto Heights Management, LLC, and Archdale

Development, LLC, filed articles of termination and dissolved as of June 10, 2022.                The

Defendants’ actions, on the eve of a federal trial relating to pending claims of violations of federal

employment statutes by these Defendants, raise serious questions which require an immediate

response from Defendants and their sole member/owner Kamlesh Shah (“Mr. Shah”).

       The Court hereby orders as follows:

       1.      Defendants and their sole member/owner shall file with the Court on or before noon

on June 21, 2022 copies of all documents relating to the dissolution of these entities and the transfer

of the assets of these entities to any other corporate entity or individual. Mr. Shah shall certify

under oath the documents are complete and accurate.

       2.      The Court will conduct a hearing on this matter on June 22, 2022 at 1:00 p.m. at

the J. Waties Waring Federal Judicial Center to determine the details of the dissolution of these
      2:18-cv-00216-RMG          Date Filed 06/17/22       Entry Number 88         Page 2 of 2




entities and the present ownership of the assets of these entities. Mr. Shah is directed to attend this

hearing and be prepared to be placed under oath. The Court will consider at this hearing whether

any sanctions against these entities and/or Mr. Shah are appropriate

       3.      The Court welcomes briefing from counsel concerning whether the dissolution of

these entities eliminates the limited liability protections afforded Mr. Shah by these two limited

liability companies and whether he should now be substituted as the party Defendant in each of

these pending actions when trial commences on June 27, 2022.

       AND IT IS SO ORDERED.



                                                s/Richard M. Gergel
                                               _________________________________
                                               Richard Mark Gergel
                                               United States District Judge


June 17, 2022
Charleston, South Carolina
